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15

16                           UNITED STATES DISTRICT COURT

17                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

18   UNITED STATES OF AMERICA,                No. ED CR 15-00093-JGB

19             Plaintiff,                     GOVERNMENT’S PARTIAL OPPOSITION TO
                                              DEFENDANT’S EX PARTE APPLICATION
20                   v.                       FOR ORDER RELIEVING FEDERAL PUBLIC
                                              DEFENDER AND APPOINTING CJA PANEL
21   ENRIQUE MARQUEZ, JR.,                    COUNSEL
22             Defendant.

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25        The government hereby partially opposes defendant’s Ex Parte
26   Application for Order Relieving Federal Public Defender and
27   Appointing CJA Panel Counsel, Dkt. 131 (“Application”).           In the
28   Application, counsel seeks two forms of relief: (a) to be removed
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 1   from the case; and (b) an order vacating the June 5, 2018--i.e.,

 2   today’s--deadline for defendant to disclose his expert reports.                The

 3   government takes no position as to the former but strongly opposes

 4   the latter.

 5         The government lacks sufficient information to take a position

 6   regarding any conflict of interest that may have arisen because it

 7   lacks access to defendant’s in camera filing supporting the
 8   Application.    But this possible conflict appears to have arisen after

 9   the Federal Public Defender’s Office has represented Mr. Marquez for

10   over two years.    As counsel and the Court are aware, sentencing in

11   this matter has been delayed multiple times over the government’s

12   objection.    The government is concerned that the requested

13   substitution of counsel will result in further delay and further

14   unfairness to the government and the victims.

15         The government strongly opposes any request to vacate the

16   Court’s order directing defendant to disclose his expert reports,

17   Dkt. 129 (which represents yet another instance of the defendant

18   waiting until the day of a deadline to attempt to avoid complying

19   with it).    Disclosure of the defense reports remains necessary to

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 1   avoid further last-minute delays in the proceedings.           The order was

 2   ministerial in nature and therefore should be obeyed whether or not

 3   any conflict exists.

 4   Dated: June 5, 2018                  Respectfully submitted,

 5                                        TRACY L. WILKISON
                                          Attorney for the United States,
 6                                        Acting Under Authority Conferred by
                                          28 U.S.C. § 515
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                                          PATRICK R. FITZGERALD
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10                                         /s/ Christopher D. Grigg
                                          CHRISTOPHER D. GRIGG
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